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Case 3:20-cr-0050
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2020 0CT 19 AM II: 34
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEX¢¢$yrzy CLERK
DALLAS DIVISION
UNITED STATES OF AMERICA
Vv. NO.

TELESFORO AVILES

3~20CR0506-x

INFORMATION
The United States Attorney charges:
Count One
Fraud and related activity in connection with computers
(Violation of 18 U.S.C. § 1030(a)(2)(C) and (c)(2)(B)(ii))

Between in or around November 2015, to in or around March 2020, within the
Northern District of Texas and elsewhere. the defendant, Telesforo Aviles, intentionally
accessed a protected computer without authorization, and thereby obtained information
from a protected computer, and the offense was committed in furtherance of a criminal
act to wit: Texas State Penal Code 21.15, in violation of the laws of the State of Texas.

In violation of 18 U.S.C. § 1030(a)(2)(C) and (c)(2)(B)(ii).

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Respectfully submitted,

LRIN NEALY COX
UNITED STATES ATTORNEY

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Sid P. Mody 7

Assistant United States Attorney
Texas State Bar No. 24072791

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214-659-8792

Email: Siddharth. mody @usdoj.gov

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